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 9
                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                          SAN JOSE DIVISION
12

13   UNITED STATES OF AMERICA,                       ) CASE NO. 20-CR-0458 BLF
                                                     )
14            Plaintiff,                             ) STIPULATION TO CONTINUE SENTENCING
                                                     ) AND [PROPOSED] ORDER
15       v.                                          )
                                                     )
16   JOSE MELCHOR CAMPOY,                            )
                                                     )
17            Defendant.                             )
                                                     )
18
19            The United States of America, through Alexandra Shepard, Assistant United States Attorney,
20 and the defendant, Jose Campoy, through his counsel, hereby stipulate to continue the sentencing date in

21 this matter to September 13, 2022 at 9:00 a.m. so that the parties can continue to discuss a sentencing

22 recommendation for the court.

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     Stip. to Continue Sentencing                    1
     20-CR-0458 BLF
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 1 DATED: July 11, 2022                                        Respectfully submitted,

 2                                                             STEPHANIE M. HINDS
                                                               United States Attorney
 3

 4                                                             /s/ Alexandra Shepard______
                                                               Alexandra Shepard
 5                                                             Assistant United States Attorney
 6

 7

 8                                                             /s/ Edward Ajlouny
                                                               Edward Ajlouny
 9                                                             Counsel for Jose Campoy
10

11                                          [PROPOSED] ORDER

12           Upon stipulation of the parties and for good cause shown, it is hereby ORDERED that the

13 sentencing in this case is continued to September 13, 2022 at 9:00 a.m.

14           IT IS SO ORDERED.

15
            July 11, 2022
16 DATED: ___________________                                  ___________________________
                                                               HON. BETH LABSON FREEMAN
17                                                             United States District Judge

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     Stip. to Continue Sentencing                   2
     20-CR-0458 BLF
